8:02-cr-00353-BCB-SMB        Doc # 585      Filed: 06/04/07    Page 1 of 2 - Page ID # 3186




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:02CR353
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )                     ORDER
                                               )
TONY SKANNELL,                                 )
                                               )
              Defendant.                       )


       This matter is before the Court on the Defendant’s motion to continue the

resentencing hearing and for reconsideration of the previous order denying the Defendant’s

request for subpoenas (Filing No. 584).

       On February 13, 2007, this matter was scheduled for resentencing on June 4, 2007.

(Filing No. 577.) On May 21, 2007, the Defendant moved for issuance of subpoenas to be

served by the U.S. Marshal out of the state for the June 4, 2007, resentencing. The motion

and affidavit, untimely submitted pursuant to NECrimR 17.1(a), provided no description of

the nature of the testimony of the two proposed witnesses. (Filing No. 580.) On May 23,

2007, the motion for issuance of subpoenas was denied. (Filing No. 581.) On June 1,

2007, the Defendant filed the instant motion. Defense counsel states that the witnesses’

testimony is relevant to a prior conviction relating to the Defendant’s career offender status.

In other words, the defense argues that the Defendant is not a career offender. (Filing No.

584.) This issue has been decided and is not before the Court. The Eighth Circuit, in

discussing Skannell’s sentencing issues, noted that Skannell did not argue on appeal the

validity of his qualifying convictions but rather raised only a Booker argument. The circuit

court stated that “under the post-Booker regime, the district court properly considered
8:02-cr-00353-BCB-SMB       Doc # 585      Filed: 06/04/07   Page 2 of 2 - Page ID # 3187




Skannell’s prior offenses and found him to be a career offender § 4B1.1.” (Filing No. 562,

at 35.) The Court specifically remanded Skannell’s case for “resentencing under Booker,

using the career offender 360 to life range as the correctly determined advisory Guidelines

range.” (Id. at 39.) Because the issue that defense counsel seeks to raise is not before

the Court, the motion to continue the resentencing hearing and for reconsideration is

denied.

       IT IS ORDERED that the Defendant’s motion to continue the resentencing hearing

and for reconsideration of the previous order denying the Defendant’s request for

subpoenas (Filing No. 584) is denied.

       DATED this 4th day of June, 2007.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 United States District Judge
